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AO 257(Rev, 6/78)


       DEFENDANT INFORMATION RELATIVE TO A CRIMINAL ACTION - IN U.S. DISTRICT COURT
BY: [Xj COMPLAINT □ INFORMATION                                 □ INDICTMENT                         Name of District Court, and/or Judge/Magistrate Location
                                                                □ SUPERSEDING                          NORTHERN DISTRICT OF CALj
              OFFENSE CHARGED
                                                                                                                     OAKLAND DIVISION
 21 U.S.C, 841 (a){1), (b}(l )(C) - Possession with Intent to          Q Petty
 Distribute a Controlled Substance
                                                                       I I Minor          I— DEFENDANT-U.S

                                                                           Misde
                                                                       □   meanor           1^ HENRY JOVANY SEVILLA
                                                                           Felony
                                                                                                 DISTRICT COURT NUMBER
PENALTY;        Maximum 20 years Imprisonment;
                Maximum $1,000,000 fine;
                Between 3 years and lifetime supervised release;
                S100 special assessment.
                                                                                                      4-19-71192
                                                                                                                           DEFENDANT

                                 PROCEEDING                                                         IS WOr IN CUSTODY
                                                                                                      Has not been arrested, pending outcome this proceeding,
   Name of Complaintant Agency, or Person (& Title, if any)                                 1) Q If not detained give date any prior .
                                                                                                 summons was served on above charges ^
                                           DBA

        person is awaiting trial in another Federal or State Court,                         2) L3 Is a Fugitive
   □ give name of court
                                                                                            3) Q Is on Bail or Release from (show District)

   i—, this person/proceeding is transferred from another district
   LJ per (circle one) FRCrp 20, 21, or 40. Show District
                                                                                                    IS IN CUSTODY

                                                                                            4)        On this charge
        this is a reprosecution of
        charges previously dismissed                                                        5) I     I On another conviction          ^
   □                                                                  SHOW
        which were dismissed on motion
                                                                    DOCKET NO.
                                                                                                                                       f     EH            EH
        of:
                                                                                            6) Q Awaiting trial on other charges
         Q U.S. ATTORNEY               [^DEFENSE
                                                                }                                     If answer to (6) is "Yes", show name of institution

        this prosecution relates to a                                                                                               If "Yes"
   I I pending case involving this same                                                          Has detainer EH
        defendant                                                   MAGISTRATE
                                                                     CASE NO.
                                                                                                 been filed? q [sJq            }    give date
                                                                                                                                    filed


        prior proceedings or appearance(s)
                                                                                                 DATE OF        I            Month/DayAf'ear
   Q before U.S. Magistrate regarding this
        defendant were recorded under
                                                                }                                ARREST         ^
                                                                                                 Or... if Arresting Agency & Warrant were not

Name and Office of Person                                                                        DATE TRANSFERRED |                         Month/Day/Year
Furnishing Information on this form ^                   DAVID L. ANDERSON                        TO U.S. CUSTODY               ^
                                 0 U.S. Attorpey □ Other U.S. Agency
Name of Assistant U.S.                                                                             I I This report amends AO 257 previously submitted
Attorney (if assigned)                           SAILAJA M. PAIDIPATY

                                                                ADDITIONAL INFORMATION OR COMMENTS
   PROCESS:

         □ SUMMONS □ NO PROCESS*                                    WARRANT         Bail Amount: No Bail

         If Summons, complete following:
                                                                                    * Where defendant previously apprehended on complaint, no new summons or
         [^Arraignment j j Initial Appearance                                       warrant needed, since Magistrate has scheduled arraignment
         Defendant Address:

                                                                                    Date/Time:                                  Before Judge:

         Comments:
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AO 91 (Rev. 11/11) Criminal Complaint

                                                                                                                      10 07 im
                                     United States District Court
                                                                 for the

                                                     Northern District of California


                 United States of America
                                V.

                                                                           Case No.
                                                                                         4-19-71192
          HENRY JOVANY SEViLLA SEVILLA.

                                                                             OAKLAND DIVISION                            MAG
                          Defendant(s)


                                                  CRIMINAL COMPLAINT

         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                     Augusts, 2019               in the county of              Alameda            in the
     Northern          District of             California       , the defendant(s) violated:
             Code Section                                                     Offense Description
21 U.S.C. 84^ a)(1).(b)(1XC)                     Possession with Intent to Distribute a Gontroiied Substance

                                                 Penalties:
                                                 Maximum 20 years imprisonment;
                                                 Maximum $1,000,000 fine;
                                                 Between 3 years and lifetime supervised release;
                                                 $100 special assessment.


          This criminal complaint is based on these facts:


See attached affidavit of Drug Enforcement Administration Special Agent Andrew Decker.




          sf Continued on the attached sheet.


                                                                                               Complainant's signature
         Approved as to form                                                           Andrew Decker, DEA Special Agent
                            AUSA Sailaja Paidipafy J                                           Printed name and title


Sworn to before me and signed in my presence.


Date:
          /fTy.
                                                                                                  Judge's signature

City and state:                         Oakland, California                       Hon. Donna M. Ryu, U.S. Magistrate Judge
                                                                                                Printed name and title
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                 AFFIDAVIT IN SUPPORT OF CRIMINAL COMPLAINT

       I, Andrew Decker, a Special Agent with the Drug Enforcement Administration(DBA),
being duly sworn, depose and state:


I.     INTRODUCTION

        1.     I make this Affidavit in support of a Criminal Complaint against Henry Jovany

SEVILLA SEVILLA for possession with intent to distribute controlled substances, specifically
cocaine, cocaine base, methamphetamine, and fentanyl, in violation of 21 U.S.C. § 841(a)(1) and
(b)(1)(C).

       2.      The facts set forth in this Affidavit are based on my own personal knowledge,

knowledge obtained from other individuals during my participation in this investigation,
including other law enforcement officers, my review of documents related to this investigation,
communications with others who have personal knowledge of the events and the circumstances

described herein, and information gained through my training and experience.

        3.     Because this Affidavit is submitted for the limited purpose of establishing

probable cause in support of a complaint and search warrant, it does not set forth each and every
fact that I, or others, have learned during the course of the investigation.
II.     AGENT BACKGROUND

       4.      I am presently employed by the DBA,San Francisco Divisional Office, as a
Special Agent(SA)and have been so employed since July of 2012.1 have been assigned to the
Oakland Resident Office since November of 2012.

        5.     As a Special Agent of the DBA,I am an investigator and law enforcement officer
of the United States within the meaning of 18 U.S.C. § 2510(7). I am empowered by law to

conduct investigations, to execute search warrants, and to make arrests for offenses of Federal
law, including drug offenses.

        6.     In addition to my experience as an agent with the DBA,I was a certified police
officer in the State of California for more than seven years, in which I held such positions as
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patrol officer, investigator, and sergeant. As part of my official duties and assignments as a
California police officer, I investigated individuals involved in violation of State of California
statutes to include, but not limited to, homicide, narcotic sales, sexual assault, and criminal street

gang violations. During the aforementioned investigations, I prepared dozens of affidavits in

support of search and arrest warrants. I have also testified as an expert in the Superior Court of
California, Contra Costa County, twice in the matter of possession of marijuana for sales, four

times related to possession of methamphetamine for sales, once related to the possession of
cocaine base for sales, and more than four times as a gang expert related to various criminal

street gangs.

        7.      Furthermore, I have conducted hundreds of probable cause arrests during the

investigation of individuals involved in violation of municipal, state and federal law. During
such investigations, I have interviewed arrested persons, debriefed confidential sources,
conducted probable cause searches of cellular phones, executed search warrants to search and
seize content within cellular phones and cellular phone records, and prepared investigations for
prosecution.

        8.      I have attended several law enforcement schools and advanced officer trainings to

include, but not limited to, 880 hours of California Peace Officer Standards and Training Basic
Police Officer training, 550 hours of DBA Basic Agent training, 32 hours of Narcotic Highway
Interdiction training, 4 hours of Complex Narcotics training, 4 hours of Marijuana Dispensary
Investigation training, 4 hours of OxyContin Investigation training, 4 hours ofPharmaceutical
Investigation training, 4 hours of Manufacturing Methamphetamine training, 40 hours of
Clandestine Laboratory Investigations, 8 hours of Butane Honey Oil Laboratory Investigations,

and 4 hours of Asset Seizure training. I currently hold a Bachelor of Science degree in Criminal

Justice Administration.

        9.      In connection with my official duties as a Special Agent for the DBA,I

investigate criminal violations of the federal narcotics laws including, but not limited to. Title 21,
United States Code, Sections 841 (manufacturing, distributing, possessing with intent to

                                                  2
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manufacture, distribute or dispense a controlled substance), 843 (registrant dispensing Scheduled
I or II substance outside legitimate scope of practice), 846 (attempts and conspiracy to commit
aforementioned violations), and 848(engaging in a continuing criminal enterprise). As a DEA

Special Agent, I have assisted in narcotics investigations that have led to the seizure of narcotics
and arrests of individuals. I have discussed with numerous law enforcement officers,

cooperating defendants, and sources the methods and practices used by narcotics distributors.
Furthermore, I have been the case agent on two separate State of California wiretap
investigations, authoring seven wiretap affidavits. These investigations resulted in the arrests of
target subjects for crimes intercepted over wire communications and the seizure of controlled
substances, bulk currency, vehicles equipped with hidden compartments, and firearms. I have
assisted in no fewer than three other federal wiretap investigations, which also resulted in the

arrest of target subjects and the seizure of controlled substances.
        10.    During my prior investigations, I became familiar with narcotics traffickers'
methods of operation, including the manufacturing, distribution, storage, and transportation of
narcotics, the collection of monies that represent the proceeds of narcotics trafficking, and
money laundering. I have participated in all formal methods of investigations, including but not
limited to, electronic surveillance, visual surveillance, general questioning of witnesses, search
warrants, use of confidential sources, pen registers, trap and trace, and the use of undercover
agents. Moreover, I have the authority to execute and serve search warrants issued under
authority of the United States, pursuant to Title 21, United States Code, § 878.
        11.    During the course of my law enforcement career, I have been involved in
investigations of numerous criminal offenses, including those offenses related to this current
investigation. I have participated in approximately 14 investigations of illicit drug trafficking
organizations, ranging from street-level dealers to major dealers. These investigations have
included: the use of confidential informants; undercover agents; the analysis of pen register, trap

and trace, and toll records; physical surveillances; and the execution of search warrants. These
investigations have also included: possession with intent to distribute and distribution of
                                                  3
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controlled substances, the related laundering of monetary instruments, monetary transactions

involving the proceeds of specified unlawful activities, and conspiracies associated with criminal
narcotics offenses. These investigations have resulted in several state and federal prosecutions of

individuals who have possessed or distributed controlled substances, including cocaine, heroin,
methamphetamine, 3,4-Methylenedioxymethamphetaraine (also known as MDMA,or Ecstasy),
and Alprazolam, as well as the seizure of those illegal drugs and the proceeds from their sale.
       12.     I have worked with approximately eight informants/cooperators and
approximately three undercover agents and have monitored meetings and consensual telephone
conversations with drug dealers involving informants and undercover agents. I have participated
in numerous hours of surveillance of narcotics traffickers. During these surveillances, I have

personally observed narcotics transactions, counter-surveillance techniques, and the methods that
narcotics traffickers use to conduct clandestine meetings.

        13.    I have participated in approximately five state and federal investigations in which
court-authorized wire interceptions were used in narcotics and/or money laundering

investigations. During these investigations, I have listened to and deciphered conversations
between narcotics traffickers in which they discussed their criminal activities in coded language,

the meanings of which were later corroborated by surveillance observations or defendants'
statements, and I have participated in the seizure of narcotics and narcotics proceeds that resulted
from the monitoring of these types of conversations.
        14.    In connection with these and other cases, I have conducted several follow-up

investigations concerning the concealment of assets, money, bank records, etc., and the
identification of co-conspirators through the use of drug ledgers, telephone records and bills,
photographs, and financial records.
        15.    I have participated in approximately four Organized Crime Drug Enforcement
Task Force(OCDETF)investigations. OCDETF is a task force comprised of multiple law
enforcement agencies that jointly investigate drug trafficking organizations.
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        16.    I have been involved in the execution of numerous state and federal narcotics-

related search warrants. As a result, I have encountered and become familiar with the various

tools, methods, trends, paraphernalia, and related articles used by drug traffickers and trafficking

organizations in their efforts to import, conceal, manufacture, and distribute controlled

substances. I am familiar with the appearance of heroin, cocaine, methamphetamine, marijuana,

MDMA,Oxycodone,Promethazine with Codeine, Alprazolam, and other controlled substances.

I am familiar with and aware of the terminology used by narcotics traffickers concerning

narcotics and narcotics dealing.

        17.     I have interviewed approximately 50 drug dealers, users, and confidential

informants and have discussed with them the lifestyle, appearances, and habits of drug dealers

and users, the use and meaning of coded language and the concealment of assets. I have become

familiar with the manner in which narcotics traffickers smuggle, transport, store, and distribute

narcotics, as well as how they collect and launder drug proceeds. I am also familiar with the
manner in which narcotics traffickers use telephones, cellular telephone technology, pagers,

coded or slang-filled telephone conversations, false or fictitious identities, and other means to
facilitate their illegal activities and thwart law enforcement investigations.

        18.    I have personally participated in the investigation discussed in this Affidavit. I

am familiar with the facts and circumstances of the investigation through my personal

participation in it based on several investigative techniques, including discussions with agents of
the DBA and with other law enforcement agencies, discussions with witnesses involved in the

investigation, and review of records and reports relating to the investigation. Unless otherwise
noted, wherever in this affidavit I assert that a statement was made, the information was provided

by another DBA agent, law enforcement officer, or witness who may have had either direct or

hearsay knowledge of that statement and to whom I or others have spoken, or whose reports I
have read and reviewed. Such statements are among many statements made by others and are

stated in substance and in part unless otherwise indicated. Throughout this Affidavit, all
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 sentences that begin with the words "I believe" are based upon such information as well as my

 training and experience.

III.      APPLICABLE LAW

          19.    Title 21, United States Code, Section 841, makes it a crime to distribute or

 possess with intent to distribute a controlled substance.
IV.       FACTS ESTABLISHING PROBABLE CAUSE

          20.    On August 5, 2019, the Honorable Elizabeth D. Laporte, U.S. Magistrate Judge

 for the Norther District of California, issued a warrant to search a residence located on 62nd

 Avenue in Oakland (the 62nd Avenue House).^ The following day, August 6, 2019,federal
 agents assisted by state officers executed the search warrant. The details regarding the warrant
 execution were relayed to me by DBA Special Agent Brandon C. Cahill who participated in the

 search. As set forth in detail below, during the execution of the warrant, agents found

 distribution quantities of several types of controlled substances, as well as drug trafficking
 paraphernalia, including packaging material, a digital scale, and cash. Many of these items were

 located in SEVILLA SEVILLA's bedroom. SEVILLA SEVILLA was found and detained at the

 scene.



          21.    Agents set up surveillance of the 62nd Avenue House at approximately 8:15 am.
 During the next three hours, agents saw SEVILLA SEVILLA enter and exit the 62nd Avenue

 House approximately five times through a side entrance on the north side of the residence.

          22.    At approximately 11:05 am, agents detained SEVILLA SEVILLA as he again

 came out of the side entrance to the 62nd Avenue House. At that time, agents began their search

 of the property. In a makeshift maintenance shed near the side entrance that SEVILLA

 SEVILLA had been using, agents found an audio speaker and a drawstring bag. Inside the

 speaker, agents recovered approximately three ounces of suspected cocaine base (also known as


          ^ I have not included the address number in this Affidavit to avoid putting identifying
 information about the residence in an Affidavit that I do not seek to file under seal.
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crack cocaine), which were in at least four individual plastic bags. DEA Task Force Officer

("TFO")Britt Elmore conducted a TrueNarc field test of one of the bags, which showed a

presumptive positive result for cocaine base. Inside the drawstring bag, agents recovered

approximately 20 bindles of suspected heroin, a single plastic bag containing approximately 1

gram of fentanyl, a bag of suspected methamphetamine, which contained numerous smaller
individual baggies of suspected methamphetamine inside, and a pill bottle containing suspected

cocaine base. TFO Elmore conducted TrueNarc field tests of the bag of suspected fentanyl, one

of the smaller baggies of suspected methamphetamine, and the suspected cocaine base within the

pill bottle. The results show a presumptive positive result for fentanyl, methamphetamine, and

cocaine base, respectively.

       23.     Based on my training and experience, I know these are distribution quantities of

each drug, not user quantities. In addition, the way in which the drugs were packaged, namely in

separated plastic bags and bindles, indicates to me that the drugs had been packaged for sale.

Drug distributors typically split up larger volumes of drugs into individual sale quantities. This

allows them to quickly engage in street-level drug sales. In addition, the presence of numerous

types of controlled substances is inconsistent individual drug use, and instead is consistent with

drug distribution. Finally, the fact that the cocaine base was hidden within a speaker shows an

intent to conceal the activity from others.

       24.     Inside the house, agents found three additional adults, two young children, and

one baby. The baby was sleeping on a mattress in a room on the first floor of the home, while

the other residents were on the second floor. On a second mattress in the same room where the

baby was sleeping, agents found SEVILLA SEVILLA's wallet. Inside the wallet was SEVILLA
SEVILLA's Honduran identification card. A few feet away from the mattress, agents recovered

a pouch that contained unused Ziploc baggies, a digital scale, and a small bag of suspected

cocaine base in a Ziploc bag. Next to the pouch was a chair with a backpack sitting on it. The

backpack was filled with loose currency in low denominations(such as $1, $5, $10 bills). Next

to the chair was a small table, which contained a bag with suspected cocaine base and a second

                                                 7
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bag of suspected powder cocaine. TFO Elmore conducted a TrueNarc field test of both bags,
which showed a positive result for cocaine base and powder cocaine, respectively. Based on my
training and experience, I know that the this type of packaging material, scales and the large
number of small denomination bills is evidence of drug trafficking. As noted above,the drugs in
the shed were packaged in plastic bags. Based on my training and experience, I know that drug
traffiekers commonly use digital scales to weigh quantities of drugs while packaging the drugs
for sale. Based on my training and experience, I also know that customers pay street level
dealers with cash, commonly in small denomination bills.

       25.     Another adult resident in the 62nd Avenue House confirmed that SEVILLA

SEVILLA lived in the room where agents found his wallet, drugs, and drug paraphemalia, and
s/he confirmed that SEVILLA SEVILLA's mattress was the one on which agents found his
wallet. This adult resident stated that s/he also slept in the same room.
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V.      CONCLUSION

        26.    Based upon the information contained within this Affidavit, there is probable
cause to believe that SEVILLA SEVILLA for possession with intent to distribute controlled
substances, specifically cocaine, cocaine base, methamphetamine, and fentanyl, in violation of
21 U.S.C.§§ 841(a)(1),(b)(1)(C).
       I declare under penalty of perjury that the statements above are true and correct to the
best of my knowledge and belief.



                                                    -Of. C\L -
                                                    ANDREW DECKER
                                                    Special Agent
                                                    Drug Enforcement Administration


Subscribed and swom to before me on August               2019.




HO^^^NNA M.RYU
United States Magistrate Judge
